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                                                                                    14                     IN THE UNITED STATES DISTRICT COURT
                                               L.L.P.




                                                                                    15                           FOR THE DISTRICT OF ARIZONA
                                                                                    16   IN RE: Bard IVC Filters Products Liability   No. 2:15-MD-02641-DGC
                                                                                    17   Litigation
                                                                                                                                      DEFENDANTS’ C. R. BARD, INC.
                                                                                    18                                                AND BARD PERIPHERAL
                                                                                                                                      VASCULAR, INC.’S MOTION TO
                                                                                    19                                                EXCLUDE THE OPINIONS OF
                                                                                                                                      REBECCA BETENSKY, PH.D. AND
                                                                                    20                                                MEMORANDUM OF LAW IN
                                                                                                                                      SUPPORT
                                                                                    21                                                (Assigned to the Honorable David G.
                                                                                    22                                                Campbell)

                                                                                    23                                                (Oral Argument Requested)

                                                                                    24
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                                                                                     1                                           MOTION
                                                                                     2          Defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc. (collectively
                                                                                     3   “Bard”), pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow
                                                                                     4   Pharmaceuticals, Inc., 509 U.S. 579 (1993), move the Court to exclude expert opinion
                                                                                     5   testimony from Plaintiffs’ expert witness Rebecca Betensky, Ph.D. The grounds for this
                                                                                     6   motion are more fully set forth in the memorandum of law below.
                                                                                     7                    MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                     8   I.     Introduction.
                                                                                     9          Dr. Rebecca Betensky, a biostatistician, opines that there is a higher risk of adverse
                                                                                    10   events for Bard’s retrievable inferior vena cava filters (“IVC Filters”) than for Bard’s
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                                                                                    11   permanent Simon Nitinol® Filter (“SNF”) based on her analysis of uncontrolled adverse
                                                                                    12   event reports.   Dr. Betensky applied unsubstantiated assumptions in her calculation,
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                                                                                    13   resulting in biased opinions that could just as easily reflect the substantial differences in
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                                                                                    14   the way adverse events are detected and reported between these two device types than any
                                               L.L.P.




                                                                                    15   actual elevation in risk for the retrievable filters. Not only does she admittedly lack the
                                                                                    16   technical and medical expertise to formulate the assumptions necessary for her opinions
                                                                                    17   about these specialized products, but she also failed to collaborate with anyone possessing
                                                                                    18   the requisite expertise as is her custom outside of the courtroom.           Dr. Betensky’s
                                                                                    19   assumptions are simply impermissible ipse dixit, which cannot form the basis of
                                                                                    20   admissible expert testimony. See G.E. v. Joiner, 522 U.S. 136, 146 (1997). Moreover,
                                                                                    21   her opinions are fatally flawed because she failed to consider potential adverse events
                                                                                    22   from the first ten years that the SNF was on the market, although she considered adverse
                                                                                    23   events for each of the retrievable filters starting at market introduction. When confronted
                                                                                    24   with this critical omission she admitted that the SNF data that she did not account for
                                                                                    25   could invalidate her opinions entirely.      Nor did she rule out plausible alternative
                                                                                    26   explanations for the increased risk she estimated. Finally, her opinions are based solely
                                                                                    27   on an improper comparison of anecdotal adverse event reports contrary to express
                                                                                    28   guidance from the Food and Drug Administration (“FDA”). For these reasons, and as set

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                                                                    1   forth more fully below, the Court should exclude Dr. Betensky’s opinions.
                                                                    2   II.    Factual Background.
                                                                    3          A. There Are Significant Differences Between Bard’s Permanent SNF Filter
                                                                                  and Various Retrievable IVC Filters That Could Impact How Adverse
                                                                    4             Events Are Detected and Reported.
                                                                    5          This case involves Bard’s IVC Filters, which are implantable prescription medical
                                                                    6   devices. Bard marketed several IVC Filters for permanent and retrievable indications.
                                                                    7   Those involved in this MDL are: the permanent SNF and the retrievable Recovery®, G2®,
                                                                    8   G2® Express, G2®X, Eclipse®, Meridian®, and Denali® Filters (collectively, the
                                                                    9   “retrievable filters”). Bard’s IVC Filters were developed to prevent large blood clots in
                                                                   10   the deep veins of the body (deep vein thrombosis or “DVT”) from traveling to the lungs,
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                                                                   11   causing pulmonary embolus, a well-recognized and leading cause of sudden death. The
                                                                   12   filters consists of two tiers of spokes that make up the “arms” and “legs.” The filters are
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                                                                   13   introduced into the IVC using a catheter via the femoral vein located in the groin or the
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                                                                   14   jugular vein in the neck. Once a filter is deployed, its arms and legs open and anchor the
                                               L.L.P.




                                                                   15   filter in the walls of the IVC. The filter then acts to catch blood clots that could otherwise
                                                                   16   flow into the lungs.
                                                                   17          There are significant differences between the permanent SNF and retrievable
                                                                   18   filters. The retrievable filters carry an important added benefit over the SNF in that they
                                                                   19   can be removed from the body percutaneously (through the skin) in a non-invasive
                                                                   20   procedure months or even years after placement. The SNF, on the other hand, was
                                                                   21   designed to remain in a patient’s body in perpetuity. If removal ever became necessary
                                                                   22   the patient required an open, major surgery. Retrievable filters may therefore be used in
                                                                   23   certain populations of patients who would not otherwise elect to receive a permanent
                                                                   24   filter. For example, retrievable filters are often used prophylactically in some otherwise
                                                                   25   healthy trauma patients for a temporary period to protect against the risk of PE when a
                                                                   26   permanent filter is unnecessary.
                                                                   27          The benefit of retrievability leads to potential differences in the frequency with
                                                                   28   which adverse events are detected in patients with retrievable filters relative to the SNF.

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                                                                    1   For example, it is well known that certain filter-related adverse events are asymptomatic,
                                                                    2   meaning that the patient does not feel or discern any symptoms associated with the
                                                                    3   problem. For patients with retrievable filters, these adverse events may first be detected
                                                                    4   when the filter is removed. In a similar patient with a permanent filter, the adverse event
                                                                    5   may never be detected. There are also potential differences in how frequently patients
                                                                    6   with permanent versus retrievable filters are followed.        For example, patients with
                                                                    7   retrievable filters may be more closely followed than those with permanent filters as their
                                                                    8   physicians determine the appropriate time for filter removal. This could afford the patient
                                                                    9   more opportunities for certain asymptomatic adverse events to be detected than those with
                                                                   10   a permanent filter.
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                                                                   11          The length of time a filter remains in a given patient (dwell time) may also vary
                                                                   12   significantly between permanent and retrievable filters.        Differences in dwell time
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                                                                   13   between permanent and retrievable filters are not necessarily intuitive to those without
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                                                                   14   expertise in these devices. Indeed, it cannot be said that permanent filters, as a rule, have
                                               L.L.P.




                                                                   15   longer dwell times than retrievable filters. An end-stage cancer patient may receive a
                                                                   16   permanent filter and subsequently pass away from the underlying disease shortly
                                                                   17   thereafter. Conversely, an otherwise healthy trauma patient may receive a retrievable
                                                                   18   filter that could remain in place for months or even years.
                                                                   19          There are likewise differences between the retrievable filters and the SNF in the
                                                                   20   likelihood that an adverse event, once detected, will ever be reported. In her expert report,
                                                                   21   Dr. Betensky recognizes the “Weber Effect,” in which “[i]ncreased reporting can be
                                                                   22   observed soon after the launch of a drug, and then decrease over time.” (Betensky MDL
                                                                   23   Report, at 13, attached as Exhibit A.) 1 Reports generated by publicity, the so-called
                                                                   24   “notoriety effect” or “stimulated reporting” can also be observed for certain products.
                                                                   25   Dr. Betensky explained, “there’s always a potential that there’s increased reporting when
                                                                   26   a product first launches or that there’s increased reporting surrounding some kind of
                                                                   27
                                                                        1
                                                                          Dr. Betensky’s original and supplemental reports do not include page numbers. All
                                                                   28   citations to a page number should be read as if the report had been properly paginated.

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                                                                    1   notoriety.” (Betensky Dep. Tr., at 110:11-14, July 26, 2016, (“Austin Dep. Tr.”) attached
                                                                    2   as Exhibit B.)
                                                                    3          Each of the retrievable filters came on the market long after the SNF was first
                                                                    4   available. Dr. Betensky considered reports of adverse events for the retrievable IVC
                                                                    5   filters starting at market launch for each product and continuing cumulatively forward.
                                                                    6   (See Betensky Dep. Tr., 116:22 to 117:4, June 23, 2017, (“MDL Dep. Tr.”) attached as
                                                                    7   Exhibit C.) These were compared to reports for the SNF starting in the year 2000,
                                                                    8   although it was launched in 1990. (See Ex. A, MDL Rep., at 1.) Dr. Betensky thus
                                                                    9   omitted at least a decade of potential adverse event reports for the SNF from her
                                                                   10   calculations with unknown consequences to her ultimate opinions. (See Ex. C, MDL
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                                                                   11   Dep. Tr., 120:25 to 122:13.)
                                                                   12          B. Dr. Betensky’s Analysis Involved the Application                  of   Unfounded
                                                                                  Assumptions to Improperly Compare MAUDE Data.
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                                                                   14          Plaintiffs retained Dr. Betensky to opine that Bard’s retrievable filters have a
                                               L.L.P.




                                                                   15   higher risk of adverse events than Bard’s SNF. (See Ex. A, MDL Rep., at 1, 14; see also
                                                                   16   Ex. C, MDL Dep. Tr., 172:18 to 173:5.) Dr. Betensky did not rely on any controlled data.
                                                                   17   Rather, she relied entirely on anecdotal adverse event reports.         (See Ex. B, Austin
                                                                   18   Dep. Tr., 42:1-3 (“I just want to be clear that the basis of the analysis and the basis of the
                                                                   19   estimates are based on what is reported.”).)
                                                                   20          The reports were those either made directly to Bard or that Bard retrieved from the
                                                                   21   FDA’s Manufacturer and User Facility Device Experience Database (“MAUDE”), a
                                                                   22   collection of medical device adverse event reports. MAUDE data has numerous well-
                                                                   23   known limitations. While manufacturers of medical devices are required to submit all
                                                                   24   reports concerning possible adverse events of which they are aware to MAUDE, reports
                                                                   25   from other sources, including doctors, patients, hospitals, and even attorneys are
                                                                   26   completely voluntary. As a result, reports in MAUDE may be duplicative because both a
                                                                   27   manufacturer and a separate individual may report the same event. These reports are
                                                                   28   uncontrolled and unconfirmed. In other words, there is no requirement that the event

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                                                                    1   described in the report verifiably occurred, much less in the manner in which it was
                                                                    2   reported. Despite these limitations, FDA recognizes certain value and utility of MAUDE
                                                                    3   data when used by manufacturers in their internal investigations and assessments of the
                                                                    4   adverse events reported for their devices. However, the FDA specifically warns on the
                                                                    5   MAUDE database homepage that “MAUDE data is not intended to be used either to
                                                                    6   evaluate rates of adverse events or to compare adverse event occurrence rates across
                                                                    7   devices” (emphasis added). (MAUDE website, at https://www.fda.gov/medicaldevices/
                                                                    8   deviceregulationandguidance/postmarketrequirements/reportingadverseevents/ucm127891
                                                                    9   .htm (last visited Aug. 8, 2017), attached as Exhibit D.) Dr. Betensky did not perform her
                                                                   10   own independent review of MAUDE for the information she relied on. (See Ex. B, Austin
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                                                                   11   Dep. Tr., 15:19-21.) Nor did she independently review the information underlying any of
                                                                   12   the reports she considered. (See id. at 92:4 to 93:3.)
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                                                                   13          Dr. Betensky’s risk estimation required a two-step analysis. First, she compared
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                                                                   14   the proportions of adverse event reports for the various retrievable filters over sales to the
                                               L.L.P.




                                                                   15   proportions of adverse event reports for the SNF over SNF sales. (See Ex. A, MDL Rep.,
                                                                   16   at 3.) She called the resulting calculation a reporting risk ratio (“RRR”). (Id.)
                                                                   17                                      RRR = (x1/n1)/(x2/n2).2
                                                                   18   Dr. Betensky emphasized that “the qualifier ‘reported’ is important and that’s indicating
                                                                   19   that the data are coming from reports, and are not being derived from a beautifully run and
                                                                   20   designed experiment like a clinical trial, in which there’s perfect follow-up and in which
                                                                   21   it’s really a true experiment. So the ‘reporting’ qualifier is there to say and to suggest that
                                                                   22   these are numbers that are reported. These are based on reports.” (Ex. B, Austin Dep. Tr.,
                                                                   23   60:12-20.)    Because of the inherent limitations in the data that she considered,
                                                                   24   Dr. Betensky’s RRR in and of itself does not quantify actual risk. Rather, it is “just an
                                                                   25   estimate” based on unconfirmed reports submitted either to Bard, MAUDE, or both. (Id.
                                                                   26
                                                                   27   2
                                                                         Ex. A, MDL Rep. at 3 (defining RRR when x1 denotes the number of AE’s for the
                                                                        product of interest, x2 denotes the number of AE’s for the SNF, n1 denotes the total units
                                                                   28   sold for the product of interest and n2 denotes the total units sold for SNF.).

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                                                                    1   at 113:21-23.)
                                                                    2          Indeed, Dr. Betensky’s RRR “could be an overestimate or it could be an
                                                                    3   underestimate” of risk, which is why it is not the true measure of interest in this case. (Id.
                                                                    4   62:14-19.) Dr. Betensky described her RRR as a “crude estimate[] of risk.” (Id. at
                                                                    5   106:20-25.) According to Dr. Betensky, the risk ratio (“RR”) is truly the “quantity of
                                                                    6   interest.” (Betensky Thisted Rebuttal Report, at 1, attached as Exhibit E (“The reporting
                                                                    7   risk ratio, which is what can be estimated from available data, is informative about the
                                                                    8   risk ratio, which is the quantity of interest.”).) Unlike Dr. Betensky’s RRR, an actual RR
                                                                    9   would not be “entangled with issues around reporting.” (Ex. B, Austin Dep. Tr., 60:21-
                                                                   10   25.)
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                                                                   11          Dr. Betensky recognized the analytical leap between the RRR she calculated and
                                                                   12   an estimation of RR. (See id at 134:25 to 135:14 (“So again, there’s the . . . leap, . . .
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                                                                   13   between the reporting rates or risks and the actual risks.”).) Dr. Betensky, therefore,
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                                                                   14   estimated RR in this case based on her RRR calculations. She did not calculate an actual
                                               L.L.P.




                                                                   15   quantifiable increased risk or numerical value for RR. She simply inferred that the RR
                                                                   16   was greater for the retrievable filters than for the SNF after considering her RRR
                                                                   17   calculations in light of what she determined were “some plausible assumptions on
                                                                   18   detection, reporting, and implantation of sold devices, in conjunction with consideration
                                                                   19   of serious adverse events.” (Ex. E, Rebuttal Rep. at 1; see also Ex. C, MDL Dep. Tr.,
                                                                   20   96:9-11 (“in order to . . . draw inferences about the risk ratio from the reporting risk ratio,
                                                                   21   that’s where assumptions are required.”).) As set forth below, however, Dr. Betensky’s
                                                                   22   assumptions are unsubstantiated. Dr. Betensky admits that she is not an expert in IVC
                                                                   23   filters and did not consult with any such expert in the process of determining the
                                                                   24   “plausible assumptions” she needed to render opinions about RR in this case. (See Ex. C,
                                                                   25   MDL Dep. Tr., 25:8-11; 187:16.)
                                                                   26   III.   Argument.
                                                                   27          A. Dr. Betensky Admits She Is Not an IVC Filter Expert, and the
                                                                                  Assumptions Necessary for Her Risk Ratio Estimation Are Impermissible
                                                                   28             Ipse Dixit.

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                                                                    1          Dr. Betensky did not do an apples-to-apples comparison. She did not analyze risk
                                                                    2   for adverse events between retrievable filters. Rather, she undertook an apples-to-oranges
                                                                    3   analysis, comparing adverse events in the permanent SNF to various retrievable IVC
                                                                    4   filters. If there are differences between the retrievable filters and the SNF in the way
                                                                    5   these adverse events are either detected or reported, “it wouldn’t be appropriate to
                                                                    6   consider the reporting risk ratio as a risk ratio.” (Ex. C, MDL Dep. Tr., 177:11-12.)
                                                                    7   Therefore, in order to draw unbiased inferences about RR from her RRR calculations,
                                                                    8   Dr. Betensky was “required” to apply certain “plausible” assumptions about the way in
                                                                    9   which adverse events are first detected and then reported in the SNF as opposed to the
                                                                   10   retrievable filters. If her assumptions are unfounded or wrong, that means her opinions on
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                                                                   11   risk are biased. In other words, the elevated risk she calculated could be due to reasons
                                                                   12   totally unrelated to any actual increased risk. (See Dr. Thisted MDL Report, at ¶¶ 99,
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                                                                   13   109, 113, attached as Exhibit F.) It could be that doctors are more likely to report adverse
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                                                                   14   events for the newer retrievable filters than for the SNF, which had been on the market for
                                               L.L.P.




                                                                   15   over a decade before the first retrievable filter was launched. (See Ex. A, MDL Rep., at
                                                                   16   13.) Or for various reasons the adverse events at issue may be more easily detected in
                                                                   17   patients with retrievable filters. If so, and there are many reasons to think this is true, then
                                                                   18   there would be no elevated risk at all notwithstanding Dr. Betensky’s calculations. (See
                                                                   19   Ex. F, Thisted Rep. at ¶ 114.)
                                                                   20          Determining whether or not assumptions about detection and reporting of adverse
                                                                   21   events in retrievable and permanent filters are “plausible” requires an expert
                                                                   22   understanding of these complex medical devices and their use. Dr. Betensky, however, is
                                                                   23   not an IVC filter expert. (See C, MDL Dep. Tr., 187:16 (“I’m not a medical expert in
                                                                   24   these filters.”); see also Ex. B, Austin Dep. Tr., 132:25 to 133:1 (“So I’m a statistician,
                                                                   25   I’m a statistical expert, I’m not a medical expert.”).) She admits she has no expertise in
                                                                   26   the disciplines that might inform the various “plausible” assumptions she was “required”
                                                                   27   to apply to reach her RR opinions. She is not a medical doctor and does not treat patients.
                                                                   28   (See Ex. B, Austin Dep. Tr., 39:3-6.) She is not a radiologist. (Id. at 39:7-8.) Nor is she

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                                                                    1   an expert in human anatomy. (Id. at 39:9-12.) She is not an engineer. (See Ex. C, MDL
                                                                    2   Dep. Tr., 18:8.)
                                                                    3          Specifically, Dr. Betensky disclaims the expertise necessary for her assumptions
                                                                    4   about the differences in detection and reporting of adverse events between the retrievable
                                                                    5   filters and the permanent SNF:
                                                                    6                 Q.     You’re not a medical expert when it comes to what
                                                                                             might impact the differential discovery and reporting
                                                                    7                        of adverse events in a removable filter versus adverse
                                                                                             events in a permanent filter?
                                                                    8
                                                                                      A.     I’m not a medical expert in that.
                                                                    9
                                                                               (Ex. C, MDL Dep. Tr., 187:23 to 188:2.)
                                                                   10
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                                                                                      Q.     You’re not an expert in the manner in which potential
                                                                   11                        filter adverse events are detected, are you?
                                                                   12                 A.     Not in how they are clinically detected.
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                                                                   13          (Id. at 92:8-10.)
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                                                                   14                 Q.     You’re not an expert in the differences in how adverse
                                               L.L.P.




                                                                                             events are clinically detected in retrievable filters
                                                                   15                        versus permanent filters, right?
                                                                   16                 A.     Correct.
                                                                   17          (Id. at 92:12-15.)
                                                                   18                 Q.     Do you hold yourself out as an expert in the FDA
                                                                                             rules, regulations, and guidance related to submitting
                                                                   19                        adverse event reports to MAUDE?
                                                                   20                 A.     I’m not an expert in those regulations.
                                                                   21          (Id. at 93:8-11.)
                                                                   22          Recognizing that she is not a medical doctor or expert in any specific scientific
                                                                   23   discipline other than statistics and related issues, in her non-litigation work she routinely
                                                                   24   collaborates with subject matter experts in the field. (Id. at 18:17-20 (“I have, you know,
                                                                   25   25 years of experience as a Ph.D.-level statistician who has collaborated extensively with
                                                                   26   investigators in the medical field”); 19:16-22 (“Q. You often collaborate with subject
                                                                   27   matter experts in various fields of medicine when you publish an article, right? . . . A. I –
                                                                   28   yes, many of my . . . publications are collaborative publications with experts in medicine

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                                                                    1   and science.”); 20:14-17 (“Q. And that’s totally routine for you is what I’m driving at,
                                                                    2   right? A. I’ve, I’ve done it regularly over many years, yes.”); 24:9-17 (“[W]ithin my
                                                                    3   department of biostatistics at the Harvard Chan School of Public Health, my colleagues,
                                                                    4   other faculty within that department and myself commonly collaborate with medical and
                                                                    5   public health and basic science experts in the development of both statistical methodology
                                                                    6   and in collaborative research, and everyone is usually an author -- a coauthor on the paper
                                                                    7   that comes out of that.”).)
                                                                    8          Yet in this case Dr. Betensky did not work with or collaborate with anyone. (Id. at
                                                                    9   25:8-11.)   Dr. Betensky’s assumptions about differential detection and reporting of
                                                                   10   adverse events between the SNF and retrievable filters are not the product of her own
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                                                                   11   expertise and do not come from anyone who purports to be an expert in this subject.
                                                                   12   Instead, they just seemed “reasonable” or “obvious” to her based on her “general
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                                                                   13   understanding” of these complex devices:
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                                                                   14                 Q.     . . . Who provided you the assumptions that you used?
                                               L.L.P.




                                                                   15                 A.     The assumptions are, in my view, reasonable
                                                                                             assumptions based on, you know, my general
                                                                   16                        understanding.
                                                                   17                 Q.     Your assumptions are not based on any medical
                                                                                             expertise that you have with respect to these filters,
                                                                   18                        right?
                                                                   19                 A.     I don’t have medical expertise.
                                                                   20          (Id. at 188:12-20.)
                                                                   21                 Q.     Did you consult or confer with anybody that has any
                                                                                             medical expertise with respect to the products at issue
                                                                   22                        to determine whether your assumption that the
                                                                                             difference in reporting for the devices would be
                                                                   23                        consistent?
                                                                   24                 A.     It seems obvious to me that, as long as the events are
                                                                                             of comparable seriousness that that would follow.
                                                                   25
                                                                               (Id. at 108:23 to 109:6.)
                                                                   26
                                                                                      Q.     Did you consult with anybody that has any medical
                                                                   27                        expertise with respect to the adverse events at issue to
                                                                                             determine whether your assumptions that the
                                                                   28

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                                                                    1                        differential reporting -- whether your assumptions
                                                                                             about differential reporting hold true?
                                                                    2
                                                                                      A.     No.
                                                                    3
                                                                               (Id. at 109:9-14.)
                                                                    4
                                                                    5          Dr. Betensky recognized the “leap between the reporting rates or risks,” the RRR

                                                                    6   she calculated, “and the actual risks,” or RR she estimated. (Ex. B, Austin Dep. Tr.,

                                                                    7   134:25 to 135:14.) To bridge this analytical gap required her to apply assumptions about

                                                                    8   adverse event detection and reporting that are based on nothing more than her ipse dixit or

                                                                    9   say so. The Supreme Court squarely addressed this issue in General Electric Company v.

                                                                   10   Joiner, holding that “nothing in either Daubert or the Federal Rules of Evidence requires
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                                                                   11   a district court to admit opinion evidence that is connected to existing data only by the

                                                                   12   ipse dixit of the expert. A court may conclude that there is simply too great an analytical
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                                                                   13   gap between the data and the opinion proffered.” 522 U.S. 136, 146 (1997). The Court
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                                                                   14   should likewise exclude Dr. Betensky’s opinions in this case.
                                               L.L.P.




                                                                   15          B. Dr. Betensky’s Opinions Should Be Excluded for Failure to Consider
                                                                                  Necessary Data or Rule out Plausible Alternative Causes for the Elevated
                                                                   16             Risk She Estimated.
                                                                   17          As set forth above, Dr. Betensky compared the proportions of adverse event reports

                                                                   18   for the various retrievable filters over sales to the proportions of adverse event reports for

                                                                   19   the SNF over SNF sales. She considered adverse event reports and sales data for each of

                                                                   20   the retrievable filters starting at product launch. (See Ex. C, MDL Dep. Tr., 124:18-22.)

                                                                   21   For her comparison to the SNF, however, Dr. Betensky utilized adverse event reports and

                                                                   22   sales data starting in 2000 although she was aware that “the SNF was launched in 1990.”

                                                                   23   (Ex. A, MDL Rep. at 13.) She therefore omitted the first ten years of adverse event

                                                                   24   reports and sales data from her analysis of the SNF. (See Ex. C, MDL Dep. Tr., 125:20 to

                                                                   25   126:2 (“Q. In your analysis you captured periods in which the removal devices were new

                                                                   26   to the market, right? A. Yes. Q. In your analysis you didn’t start considering adverse

                                                                   27   events for the Simon Nitinol filter until it had been on the market for over ten years, right?

                                                                   28   A. I believe that’s true.”).) This is particularly egregious considering that, under the


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                                                                    1   “Weber effect” that Dr. Betensky describes in her report, “[i]ncreased reporting can be
                                                                    2   observed soon after the launch of a drug.” (Ex. A, MDL Rep. at 13.) Dr. Betensky thus
                                                                    3   failed to consider the period in which she would expect to find the most adverse event
                                                                    4   reports for the SNF.
                                                                    5          Dr. Betensky’s failure to include this decade-long span of adverse event and sales
                                                                    6   data for the SNF is fatal to her analysis. As she admitted, had she considered this missing
                                                                    7   data it is entirely possible that she would not have estimated any increased risk of adverse
                                                                    8   events for the removable filters:
                                                                    9                 Q.       Because you didn’t have data for adverse events for
                                                                                               SNF prior to 2000 and you didn’t have sales data for
                                                                   10
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                                                                                               SNF prior to 2000, there’s no way for you, as you sit
                                                                                               here today, to say that if you had that data and
                                                                   11                          calculated reporting risk ratios perhaps the reporting
                                                                                               risk ratios would be greater for SNF over removable,
                                                                   12                          maybe they’d be lower. You just don’t know one way
                                                                                               or another, right?
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                                                                                      A.       I don’t have the data so I don’t know what the number
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                                                                   14                          would be if I had had the data. It could go -- like you
                                               L.L.P.




                                                                                               said, I could get -- I could have gotten RRs that are
                                                                   15                          larger than what I got. I could have gotten RRs that are
                                                                                               smaller than what I got.
                                                                   16
                                                                   17   (Ex. C, MDL Dep. Tr., 122:1-13.)          Conceding the gravity of this obvious failure,

                                                                   18   Dr. Betensky admitted “So if I had had the data for the first ten years, I would have used

                                                                   19   it.” (Id. at 189:21-22.) 3 Dr. Betensky’s failure to consider pre-2000 data for the SNF

                                                                   20   admittedly invalidates her opinions, which the Court should exclude entirely.

                                                                   21          Dr. Betensky likewise lacked the data to rule out plausible alternative causes for

                                                                   22
                                                                        3
                                                                           In a last-ditch effort to defend her analysis, Dr. Betensky speculated that her opinions
                                                                   23   might still have value as a comparison of current time periods because “although the SNF
                                                                        came on the market in 1990, perhaps other things have changed in medicine and in
                                                                   24   treatment of these patients who receive these filters and in, you know, ancillary treatments
                                                                        or drugs that are given to them alongside it or how surgery is conducted or any number of
                                                                   25   things that might have changed from 1990 to 2000. And so, that would be a reason why it
                                                                        might be more meaningful to compare . . . at the same time period given that . . . things in
                                                                   26   medicine do change quite a bit over ten years.” (Ex. C, MDL Dep. Tr., 127:3-15.) Dr.
                                                                        Betensky had no idea, however, what if anything had actually changed for the devices and
                                                                   27   patients at issue. When asked what specific changes she was referring to, Dr. Betensky
                                                                        conceded “that would be something for a clinical expert to comment on.” (Id. at 128:13-
                                                                   28   23.)

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                                                                    1   the increased risk she found. For example, she did nothing to account for the differences
                                                                    2   between the retrievable filters and the SNF when it comes to detecting asymptomatic
                                                                    3   adverse events. (Id. at 185:7-14 (“Q. What, if anything, did you do in this case to control
                                                                    4   for the possibility that individuals with asymptomatic adverse events that have retrievable
                                                                    5   filters only had those symptoms detected when the filter was removed? . . . A. I didn’t
                                                                    6   have any information to do anything about that.”).) Nor did she account for the fact that
                                                                    7   adverse event reports for the retrievable filters, including reports from plaintiff attorneys,
                                                                    8   might be increased due to ongoing litigation over those products and the attendant
                                                                    9   increased publicity that brings. (Id. at 189:7-10 (“A. I, I didn’t take into account potential
                                                                   10   changes in reporting. Q. Based on litigation? A. Based on litigation.”); 191:1-10 (“Q.
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                                                                   11   It’s entirely possible that the increases over time in reporting for the removable products
                                                                   12   that you noted were related to high profile litigation connected with the products, right?
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                                                                   13   That’s possible? . . . A. Anything is possible. I suppose. Q. You didn’t do anything to
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                                                                   14   rule out that possibility, did you? A. I don’t have -- I didn’t have the data to be able to do
                                               L.L.P.




                                                                   15   that kind of level of analysis.”).
                                                                   16          As set forth above, Dr. Betensky’s failure to consider critical data invalidates her
                                                                   17   opinions that there is any increased risk for the retrievable filters over the SNF. Her
                                                                   18   opinions should therefore be excluded.
                                                                   19          C. Dr. Betensky’s Opinions Should Be Excluded Because They Result From
                                                                                  Her Improper Comparison of Reporting Rates of Anecdotal Adverse Event
                                                                   20             Reports.
                                                                   21          Dr. Betensky’s opinions are inadmissible because they are based entirely on an
                                                                   22   improper comparison of reporting rates of anecdotal adverse event reports that were either
                                                                   23   made directly to Bard or that Bard retrieved from FDA’s MAUDE Database. Although
                                                                   24   FDA recognizes certain value and utility of MAUDE data, its limitations and constraints
                                                                   25   are well known. Indeed, FDA states that the MAUDE database is a “passive surveillance
                                                                   26   system [that] has limitations, including the potential submission of incomplete, inaccurate,
                                                                   27   untimely,     unverified,     or     biased     data.”   (See    MAUDE         website,     at
                                                                   28   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfmaude/search.cfm#disclaimer          (last

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                                                                    1   visited Aug. 8, 2017), attached as Exhibit G.) FDA further cautions that voluntary
                                                                    2   adverse event reporting systems, such as MAUDE, are subject to a variety of reporting
                                                                    3   biases and that data may be affected by the submission of incomplete or duplicate reports,
                                                                    4   underreporting, or reporting stimulated by publicity or litigation, leading to “substantial
                                                                    5   limitations in interpretation because of the inherent uncertainties in the numerator and
                                                                    6   denominator.” (See FDA, Guidance for Industry: Good Pharmacovigilance Practices &
                                                                    7   Pharmacoepidemiologic Assessment, 2005 WL 3628217 § IV(G) (Mar. 2005), available
                                                                    8   at    http://www.fda.gov/downloads/RegulatoryInformation/Guidances/UCM126834.pdf-
                                                                    9   title=Guidance (last visited Aug. 8, 2017), attached as Exhibit H.)
                                                                   10          Because of these recognized limitations, courts have found that expert opinions
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                                                                   11   that are based on comparative rates of case reports/adverse event reports, such as those
                                                                   12   found in the MAUDE database, are unreliable and therefore inadmissible because such
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                                                                   13   reports are anecdotal “without any medical controls or scientific assessment.” See, e.g., In
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                                                                   14   re: Accutane Prods. Liab. Litig., 511 F. Supp. 2d 1288, 1298 (M.D. Fla. 2007) (excluding
                                               L.L.P.




                                                                   15   expert opinion based on adverse event reports and case reports because they “occurred
                                                                   16   without any medical controls or scientific assessment.”); see also Rider v. Sandoz Pharms.
                                                                   17   Corp., 295 F.3d 1194, 1199 (11th Cir. 2002) (affirming exclusion of expert opinion based
                                                                   18   on adverse event reports/case reports because they “reflect only reported data, not
                                                                   19   scientific methodology”); Allison v. McGhan Medical Corp., 184 F.3d 1300, 1316 (11th
                                                                   20   Cir. 1999) (affirming exclusion of expert opinion based on case reports); Haggerty v.
                                                                   21   Upjohn Co., 950 F. Supp. 1160, 1165 (S.D. Fla. Dec. 6, 1996), aff’d 158 F.3d 588 (11th
                                                                   22   Cir. 1998) (excluding expert opinion based upon adverse event reports and “anecdotal
                                                                   23   case reports appearing in medical literature” due to the “inherent bias” in the adverse
                                                                   24   event reports and that “while case reports may provide anecdotal support, they are no
                                                                   25   substitute for a scientifically designed and conducted inquiry”); In re Denture Cream
                                                                   26   Prods. Liab. Litig., No. 09-2051-MD, 2015 WL 392021 (S.D. Fla. Jan. 28, 2015) (case
                                                                   27   reports are not a reliable basis for expert opinion); In re Gadolinium-Based Contrast
                                                                   28   Agents Prod. Liab. Litig., No. 1:08 GD 50000, 2010 WL 1796334, at *11 (N.D. Ohio

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                                                                    1   May 4, 2010) (prohibiting expert opinion on comparative rates based solely on adverse
                                                                    2   event reports).
                                                                    3            Dr. Betensky, readily admits the numerous limitations to MAUDE data. (See Ex.
                                                                    4   B, Austin Dep. Tr., 64:19 to 65:3 (recognizing “the messiness” in MAUDE data she
                                                                    5   used); 101:19-102:12 (underreporting a limitation); 102:15 to 103:11 (“So another
                                                                    6   limitation are data errors . . . . So anyway, there are many of these data errors.”); 106:20-
                                                                    7   25 (“So another limitation is that these are crude estimates of risk.”); 109:8-17
                                                                    8   (recognizing data confounding due to patient-level characteristics); 110:9-14 (increased
                                                                    9   reporting due to notoriety or when product first launches).)
                                                                   10            Because of the myriad limitations that Dr. Betensky identifies, the FDA
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                                                                   11   specifically warns on the MAUDE database homepage that “MAUDE data is not
                                                                   12   intended to be used either to evaluate rates of adverse events or to compare adverse
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                                                                   13   event occurrence rates across devices” (emphasis added). (Ex. D.)                     Indeed,
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                                                                   14   Dr. Betensky quotes another warning from FDA’s website which specifically provides
                                               L.L.P.




                                                                   15   that MAUDE “data alone cannot be used to . . . compare event rates between devices.”
                                                                   16   (Ex. E, Rebuttal Rep., at 3.) Yet that is precisely how Dr. Betensky uses the MAUDE
                                                                   17   data. Contrary to FDA’s admonition, Dr. Betensky misuses MAUDE to compare adverse
                                                                   18   event rates for Bard’s retrievable filters against the SNF to highlight purported increased
                                                                   19   safety problems with the newer devices. Specifically, Dr. Betensky calculated “relative
                                                                   20   risks that were reported,” in other words, “relative risks based on the frequency of
                                                                   21   complications reported in one filter versus another filter.” (Ex. B, Austin Dep. Tr., 40:21-
                                                                   22   41:5.)
                                                                   23            To be clear, Dr. Betensky did not calculate a true relative risk. She simply
                                                                   24   compared reporting rates, with all the attendant limitations, to create a so-called “reporting
                                                                   25   relative risk.” As Dr. Betensky explained, “the qualifier ‘reported’ is important and that’s
                                                                   26   indicating that the data are coming from reports, and are not being derived from a
                                                                   27   beautifully run and designed experiment like a clinical trial in which there’s perfect
                                                                   28   follow-up and in which it’s really a true experiment.” (Id. at 60:12-17.) Yet, as

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                                                                    1   Dr. Betensky admits, an actual relative risk (as opposed to the “reporting relative risk” she
                                                                    2   calculated) would have been the “target,” and “is what would be of interest” because it is
                                                                    3   not “entangled with issues around reporting” unlike her calculations. (Id. at 60:21-25.)
                                                                    4          FDA further warns that any comparisons of reporting rates across devices using
                                                                    5   MAUDE data should be “viewed with extreme caution and generally considered
                                                                    6   exploratory or hypothesis-generating.” (Ex. H, FDA Guidance at § IV(G) (emphasis
                                                                    7   added).) Dr. Betensky directly quotes this warning in both of her rebuttal reports. (See
                                                                    8   Ex. E, Rebuttal Rep. at 4; Feigal Rebuttal Report at 2, attached as Exhibit I.) Yet, again,
                                                                    9   Dr. Betensky ignores FDA’s warnings and misuses MAUDE data for the purpose of
                                                                   10   confirming a hypothesis that Plaintiffs’ attorneys paid her to confirm, rather than to
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                                                                   11   generate a hypothesis. (See Ex. C, MDL Dep. Tr., 172:18 to 173:5.) Because of the
                                                                   12   numerous limitations with the MAUDE data, FDA Guidance demands that Dr. Betensky’s
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                                                                   13   opinions be “viewed with extreme caution.” (Ex. H, FDA Guidance at § IV(G).)
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                                                                   14          Indeed, Dr. Betensky’s frank concessions about the unreliability of her calculations
                                               L.L.P.




                                                                   15   highlight the danger of admitting them to the jury. For example, Dr. Betensky admitted
                                                                   16   that she provided only an “estimate [that] could be an overestimate or it could be an
                                                                   17   underestimate.” (Ex. B, Austin Dep. Tr., 62:16-19.) To the point, she admitted it was “not
                                                                   18   possible” for her to calculate a rate of error or “single measure of bias.” (Id. at 112:13 to
                                                                   19   113:7.) Dr. Betensky does not know and could not say whether confounding factors
                                                                   20   affected her analysis. (Id. at 110:3-7.) Moreover, her analyses do not “account for . . .
                                                                   21   potential external limitations, which can’t be addressed exclusively by the numbers on the
                                                                   22   page. And so for those, there’s additional error or overestimation/underestimation, and
                                                                   23   that’s not part of the error that is accounted for.” (Id. at 126:8-20.) Finally, and perhaps
                                                                   24   the most compelling reason that these opinions should be excluded, Dr. Betensky
                                                                   25   conceded that her opinion or “estimate” is “not the truth and is different in some ways
                                                                   26   from the truth.” (Id. at 113:9-11.)
                                                                   27          This Court should exclude Dr. Betensky’s opinions because they are based entirely
                                                                   28   on her misuse of anecdotal adverse event reports made to MAUDE or Bard data “to

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                                                                    1   compare adverse event occurrence rates across devices,” which the FDA has specifically
                                                                    2   warned is not how such reports are intended to be used because of the numerous
                                                                    3   limitations with such data. Admitting any such opinions would also unfairly prejudice
                                                                    4   Bard by giving the jury the misleading impression that this unreliable comparison of
                                                                    5   adverse event rates is reliable because of its presentation through an expert. Fed. R. Evid.
                                                                    6   403.
                                                                    7   IV.    Conclusion.
                                                                    8          For each of these reasons, Bard respectfully requests that this Court exclude the
                                                                    9   opinions of Dr. Betensky in their entirety.
                                                                   10               RESPECTFULLY SUBMITTED this 24th day of August, 2017.
Nelson Mullins Riley & Scarborough




                                                                   11                                          s/Richard B. North, Jr.
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                                                                    1                                CERTIFICATE OF SERVICE
                                                                    2          I hereby certify that on this 24th day of August 2017, the foregoing was
                                                                    3   electronically filed with the Clerk of Court using the CM/ECF system which will
                                                                    4   automatically send e-mail notification of such filing to all attorneys of record.
                                                                    5
                                                                                                                             s/Richard B. North, Jr.
                                                                    6                                                        Richard B. North, Jr.
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